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 4
 5   Attorney for Defendant, IBRAHIM NAGEEB FAKHOURI
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 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )        CASE NUMBER: CR-F-02-5288-OWW
                                                      )
11                          Plaintiff,                )
                                                      )        STIPULATION AND ORDER FOR A
12   v.                                               )        RESETTING OF THE HEARING ON
                                                      )        REPORT OF PROBATION OFFICER
13   IBRAHIM NAGEEB FAKHOURI,                         )
                                                      )
14                          Defendant.                )
                                                      )
15
16           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and the
17   defendant by and through his attorney, that the date set for the hearing on the presentence report of the
18   probation officer and sentencing be executed as follows:
19                  Defense Counsel’s Informal Objections have already been made.
20                  Formal Objections must be filed with the Court and served on Probation
                    and AUSA: move from April 24, 2006 to June 12, 2006.
21
22                  RPO Hearing: move from 9:00 a.m. on May 1, 2006 to 9:00 a.m. on
                    June 19, 2006.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
           Case 1:02-cr-05288-AWI Document 388 Filed 04/28/06 Page 2 of 2


 1           The parties also agree that any delay resulting from this continuance shall be excluded in the
 2   interest of justice pursuant to 18 U.S.C. sections 3161(h)(1)(F), 3161(h)(8)(A) and 3161(h)(8)(B)(I).
 3                                                          Respectfully submitted,
 4
 5   DATED: April 27, 2006                                  /s/ Salvatore Sciandra
                                                            SALVATORE SCIANDRA
 6                                                          Attorney for Defendant,
                                                            IBRAHIM NAGEEB FAKHOURI
 7
 8
 9   DATED: April 27, 2006                                  /s/ Karen Escobar
                                                            KAREN ESCOBAR
10                                                          Assistant United States Attorney
11                                                          Stipulation has been agreed to by Ms. Escobar
                                                            via telephone on 4/27/06.
12   ///
13   ///
14                                                  ORDER
15   IT IS SO ORDERED.
16   Dated: April 28, 2006                              /s/ Oliver W. Wanger
     emm0d6                                        UNITED STATES DISTRICT JUDGE
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     U.S. v. FAKHOURI
     STIPULATION AND ORDER FOR A RESETTING OF THE HEARING ON REPORT OF PROBATION OFFICER
     CASE NUMBER: CR-F-02-5288-REC                                                                        2
